22-1149 Docket                                                                                       https://ecf.ca9.uscourts.gov/bn/beam/servlet/TransportRoom
                   Case 8:22-cv-01454-ODW Document 2-2 Filed 08/05/22 Page 1 of 4 Page ID #:83

                                                                           PACER fee: Exempt

                                                                            General Docket
                                                          U. S. Bankruptcy Appellate Panel for the Ninth Circuit
         Bankruptcy Appellate Panel Docket #: 22-1149                                                                          Docketed: 07/28/2022
         Jamie Gallian v. Houser Bros. Co., et al                                                                               Termed: 08/03/2022
         Appeal From: California Central - Santa Ana
         Fee Status: fee due

         Case Type Information:
           1) Bankruptcy
           2) Chapter 7 Non-Business
           3) null

         Originating Court Information:
            District: 0973-8 : 8:21-bk-11710-ES
            Presiding Judge: Erithe A. Smith, U.S. Bankruptcy Judge
            Date Filed: 07/09/2021
            Date NOA Filed:                                                            Date Rec'd BAP:
            07/28/2022                                                                 07/28/2022

         Prior Cases:
            None

         Current Cases:
                                    Lead                   Member             Start               End
              Related
                                    22-1146                22-1149            07/28/2022

         Panel Assignment:                Not available



         In re: JAMIE LYNN GALLIAN
                      Debtor
         ------------------------------

         JAMIE LYNN GALLIAN                                                           Jamie Lynn Gallian
                   Appellant                                                          Direct: 714-321-3449
                                                                                      [NTC Pro Se]
                                                                                      Unit 376
                                                                                      16222 Monterey Lane
                                                                                      Huntington Beach, CA 92649
         v.

         HOUSER BROS. CO., dba Rancho Del Rey Mobile Home Estates                     David Edward Hays, Esquire, Counsel
                  Appellee                                                            Direct: 949-333-7777
                                                                                      [COR LD NTC Retained]
                                                                                      Marshack Hays LLP
                                                                                      870 Roosevelt Avenue
                                                                                      Irvine, CA 92620

         HUNTINGTON BEACH GABLES HOMEOWNERS ASSOCIATION                               Robert P. Goe, Esquire, Attorney
                  Appellee                                                            Direct: 949-798-2460
                                                                                      [COR LD NTC Retained]
                                                                                      Goe Forsythe & Hodges LLP
                                                                                      Suite 1200
                                                                                      18101 Von Karman Avenue
                                                                                      Irvine, CA 92612




1 of 4                                                                                                                                     8/5/2022, 12:45 PM
22-1149 Docket                                                            https://ecf.ca9.uscourts.gov/bn/beam/servlet/TransportRoom
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         In re: JAMIE LYNN GALLIAN

                          Debtor

         ------------------------------

         JAMIE LYNN GALLIAN

                          Appellant

         v.

         HOUSER BROS. CO., dba Rancho Del Rey Mobile Home Estates; HUNTINGTON BEACH GABLES HOMEOWNERS ASSOCIATION

                          Appellees




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22-1149 Docket                                                                                    https://ecf.ca9.uscourts.gov/bn/beam/servlet/TransportRoom
                 Case 8:22-cv-01454-ODW Document 2-2 Filed 08/05/22 Page 3 of 4 Page ID #:85

         07/28/2022         1           Received notice of appeal filed in Bankruptcy Court on 07/28/2022, and copy of tentative ruling. (PI)
                      12 pg, 6.1 MB     [Entered: 08/03/2022 12:01 PM]

         08/03/2022         2           Received from Bankruptcy Court copy of Appellant's Statement of election. filed in Bk. Ct. 08/02/2022. (PI)
                      4 pg, 291.51 KB   [Entered: 08/03/2022 12:04 PM]

         08/03/2022         3           Notice sent 08/03/2022 to District Court transferring appeal per objection. (PI) [Entered: 08/03/2022 03:59
                      17 pg, 6.4 MB     PM]

         08/03/2022         4           CLOSED: Case closed: Election without judicial action; 08/03/2022 22-1149 Transferred by election. (PI)
                                        [Entered: 08/03/2022 04:26 PM]
         08/05/2022         5           Received from Bankruptcy Court copy of notice of refferal filed in Bk. Ct. 08/04/2022. Forwarded to District
                      2 pg, 159.7 KB    Court. (PI) [Entered: 08/05/2022 11:29 AM]




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22-1149 Docket                                                      https://ecf.ca9.uscourts.gov/bn/beam/servlet/TransportRoom
                     Case 8:22-cv-01454-ODW Document 2-2 Filed 08/05/22 Page 4 of 4 Page ID #:86

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